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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

PharmacyChecker.com LLC,                     Civil Action No. 7:19-cv-07577-KMK

                        Plaintiff,
             vs.                             AMENDED COMPLAINT

National Association of Boards of            JURY TRIAL DEMANDED
Pharmacy, Alliance for Safe Online
Pharmacies, Center for Safe Internet         Judge Kenneth M. Karas
Pharmacies Ltd., LegitScript LLC, and        Magistrate Judge Paul E. Davison
Partnership for Safe Medicines, Inc.,

                        Defendants.


      Plaintiff PharmacyChecker.com LLC alleges the following upon actual

knowledge with respect to itself and its own acts and upon information and belief as

to all other matters:

                            NATURE OF THE ACTION

      PharmacyChecker.com brings this action under the Sherman Act, 15 U.S.C.

§ 1, for injunctive relief and damages arising from a conspiracy among the

defendants—Alliance for Safe Online Pharmacies (ASOP), Center for Safe Internet

Pharmacies (CSIP), LegitScript, National Association of Boards of Pharmacy

(NABP), and Partnership for Safe Medicines (PSM)—and their constituent members

to suppress competition in the markets for online pharmacy verification services and

comparative drug pricing information. It also seeks relief and damages against NABP

under the Lanham Act, 15 U.S.C. § 1125(a). The defendants, who are a network of

overlapping nonprofit organizations and private firms that are funded or backed by

pharmaceutical manufacturers and large pharmacy interests, are using shadow



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regulation—private agreements with key internet gatekeepers—to manipulate and

suppress the information available to consumers seeking information about lower-

cost, safe prescription medicine. PharmacyChecker.com has now effectively been

excluded from the market as a result of the defendants’ shadow regulation.

      The cost of prescription medicine in the United States is higher than anywhere

in the world, and the effect on the public health is disastrous: millions of Americans

each year do not fill prescriptions due to cost, and many become sicker or die as a

result. Others—about four million—instead seek their medications from pharmacies

abroad. Although prescription drug importation is restricted under some

circumstances in the United States, the law is generally applied only to

bulk commercial importations, not personal importation by consumers.

      The defendants—and the interests behind them—benefit from higher U.S.

drug prices, and they do not want competition from international pharmacies.

Relying heavily on their assertion that importation is illegal, they reached private

agreements with key gatekeepers of online commerce including search engines, social

media networks, shipping companies, and payment intermediaries—to manipulate

and suppress the information available to consumers worldwide seeking information

about cheaper prescription medicine from safe online pharmacies. The purpose, and

now the effect, is to choke off information about affordable prescription medications

from regulated, reputable pharmacies worldwide. PharmacyChecker.com is unique

among its competitors (which include LegitScript and NABP) in that it provides this

information, and defendants’ shadow regulation scheme has now deprived it of its




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most essential competitive resource—its visibility to consumers seeking this

information on the Internet.

                          JURISDICTION AND VENUE

      1.     This Court has primary subject-matter jurisdiction over this action

under 28 U.S.C. §§ 1331 and 1337(a), and Sections 4 and 16 of the Clayton Act, 15

U.S.C. §§ 15, 26, because this action arises under the antitrust laws of the

United States.

      2.     Venue is proper in the Southern District of New York, 15 U.S.C. §§ 15,

22 because the defendants can be found in this district. NABP, for example,

maintains an active presence in the district, having accredited and continuing to

maintain and renew accreditations for at least 89 pharmacies located in the Southern

District of New York, all of which are publicly listed on its VIPPS website. PSM

likewise directs its business activities at this district and maintains a New York-

specific section of its website. ASOP and CSIP also transact business in this state.

For example, they jointly launched a 520ft2 billboard in this district as part of their

misinformation campaign in 2014 and 2015. Venue is also proper under 28 U.S.C.

§ 1391 because a substantial part of the events or omissions giving rise to this dispute

occurred    in   this   district:   defendants     targeted    their   conspiracy    at

PharmacyChecker.com, which resides in this district.

      3.     Assignment to the White Plains is appropriate under Local Rule 21

because the claim arose in whole or in major part in the County of Westchester, and

PharmacyChecker.com resides in the County of Westchester.




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      4.     This Court has personal jurisdiction over each of the defendants because

they each have minimum contacts with this district; they each conspired to harm and

actually did harm PharmacyChecker.com, which resides in this district, as explained

in detail throughout this complaint.

                                       PARTIES

      5.     Plaintiff PharmacyChecker.com LLC is organized under the corporate

laws of the State of New York and has its principal place of business in the State of

New York. PharmacyChecker.com was founded in 2002 to promote and protect

consumer health by evaluating the practices of online pharmacies based inside and

outside the United States. It operates a rigorous accreditation program designed to

inform consumers of legitimate pharmacies that observe safe pharmacy practices and

are licensed in their home jurisdictions; it provides drug price comparison

information that allows consumers worldwide to find the lowest prices for their

prescription medications, whether dispensed in the United States or abroad; it offers

a prescription drug discount card that allows consumers to save as much as 90% from

many U.S. pharmacies; provides information about prescription assistance programs;

and provides other information about pharmacies and prescription medicine that

allows consumers to make informed purchasing decisions and raises awareness about

policy issues surrounding prescription medication in the United States.

      6.     Defendant National Association of Boards of Pharmacy (NABP) is

organized under the corporate laws of the State of Kentucky and has its principal

place of business in the State of Illinois. NABP is an association of boards of




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pharmacies, principally in the United States, which typically are quasi-private

organizations that comprise and are controlled by private pharmacists and

pharmacies, despite their nominal designations as state agencies. Through its

Verified Internet Pharmacy Practice Sites (VIPPS) program, as well as its

“.pharmacy” Verified Websites program and Internet Drug Outlet Identification

Program, NABP is a direct competitor of PharmacyChecker.com in the market for

online pharmacy accreditation and information. Currently NABP has arrangements

with companies, including Google and Bing, to provide verification of online

pharmacies for advertising eligibility, among other things.

      7.     Defendant Alliance for Safe Online Pharmacies d/b/a ASOP Global

(ASOP) is organized under the corporate laws of the District of Columbia and has its

principal place of business in the District of Columbia. ASOP’s founding members

include the American Pharmacists Association, pharmaceutical company Eli Lilly

and Company, defendant LegitScript (a competitor of PharmacyChecker.com that

provides online pharmacy accreditation), and the National Association of Chain Drug

Stores. A newer ASOP member is GoodRx (a competitor of PharmacyChecker.com,

and the leading provider of U.S.-only comparative drug price information). Defendant

NABP regularly participates in ASOP meetings and initiatives. ASOP funds the

ASOP Global Foundation. The chair of the board of directors of the ASOP Global

Foundation, Marty Allain, is also the senior manager for the pharmacy Verified

Websites Program at the NABP. The Secretary of the Board of Directors, Bruce

Longbottom, is trademark counsel at Eli Lilly Company and is also on the executive




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board of NABP’s pharmacy Verified Websites Program. An ASOP founder and its

principal executive, Libby Baney, a former lobbyist for drug company Eli Lilly and

ASOP in 2010, is currently a lobbyist for ASOP, and is a principal at Faegre Baker

Daniels, a law and lobbying firm which shares an address with ASOP. According to

the Center for Responsive Politics, ASOP was Faegre Baker Daniels’ biggest client

for 2017 and 2018. Libby Baney is also registered as a lobbyist for the NABP and

GoodRx. In an email obtained through a Freedom of Information Act request, a

representative of Eli Lilly said that ASOP represents the Pharmaceutical

Researchers and Manufacturers of America (PhRMA): “ASOP is the manner in which

Lilly (and PhRMA as an observer) is working with other key stakeholders to compile

data and collaborate to address the problem of online drug sellers/counterfeits, as we

cannot do this as one company, or as PhRMA alone.”

      8.     Defendant Center for Safe Internet Pharmacies Ltd. (CSIP) is organized

under the corporate laws of the State of Delaware and has its principal place of

business in the District of Columbia. CSIP’s members include internet commerce

gatekeepers: companies such as Google, Microsoft, Facebook, Mastercard, and UPS.

Defendants ASOP and LegitScript, both original and ex-officio members, are

responsible for organizing and helping to found CSIP, and LegitScript continues as

an ex-officio member of CSIP and regularly participates in CSIP meetings and

initiatives. Marjorie Clifton, the executive director of CSIP, formerly consulted for

Pfizer. A main purpose of CSIP is to provide a platform through which the remaining

defendants (on behalf of the industry interests behind them) can obtain consensus




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from these gatekeepers to create new barriers to Internet commerce that would

otherwise mean open competition in the markets relating to prescription drugs

(including the relevant markets alleged in this complaint).

      9.     Defendant LegitScript LLC, is organized under the corporate laws of the

State of Oregon and has its principal place of business in the State of Oregon.

LegitScript, founded by John Horton, is a for-profit, privately managed verification

and monitoring service for online pharmacies. It is the only private service recognized

by NABP. LegitScript is a direct competitor of PharmacyChecker.com in the market

for online pharmacy verification and currently has contracts with companies such as

Google to provide verification for and monitoring of Google’s ad platform.

      10.    Defendant Partnership for Safe Medicines (PSM) is organized under the

corporate laws of Delaware and has its principal place of business in San Francisco,

California. PSM is a 501(c)(6) (business league) organization. From 2007 until 2015,

the Executive Director of PSM was Scott LaGanga, who was concurrently a deputy

vice president at PhRMA. PSM has been characterized by Kaiser Health News as: “A

nonprofit organization that has orchestrated a wide-reaching campaign against

foreign drug imports” and that “has deep ties to the Pharmaceutical Research and

Manufacturers of America, or PhRMA, the powerhouse lobbying group that includes

Eli Lilly, Pfizer and Bayer.” PSM has repeatedly published and/or presented

falsehoods   and    misinformation     about    personal    drug   importation     and

PharmacyChecker.com. PSM is a listed observer to ASOP and has funded research of

at least one member of the ASOP Academic Advisory Panel. PSM can be found in this




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district: it directs advocacy activities at New York, has created “information sheets”

directed at New York, studies policy and enforcement issues specific to New York,

and maintains an entire section of its website dedicated to “resources” relating

specifically to New York, including in this district, and has published editorials and

other advocacy materials with the purpose of influencing policymakers and members

of the public regarding importation issues in New York and in this district.

      11.    Defendants and their constituent members, employees, and agents

participated personally in the unlawful conduct challenged in this complaint and, to

the extent they did not personally participate in a particular act, they authorized,

acquiesced, set in motion, or otherwise failed to take necessary steps to prevent the

acts complained of in this complaint. Each defendant acted as an agent of the

conspiracy with respect to the conduct alleged in this complaint.

      12.    This is a conspiracy that—by design—is complex and operates on

multiple levels, obscuring the underlying connections and its purposes while in some

ways hiding in plain sight. The named defendants are the face of the conspiracy, and

with one exception, LegitScript, these defendants are nonprofit associations that

were formed to serve the interests of their constituent members, which are the firms

that compete in the underlying product markets related to the relevant markets

alleged in this complaint. Two of these defendants are also direct competitors of

PharmacyChecker.com.

      13.    The defendants’ constituent members are, in many cases, horizontal

competitors who have consciously committed to this common scheme to further their




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own interests. As explained above, ASOP’s constituent members primarily include

pharmacy and pharmaceutical interests who directly compete with one another and

who would otherwise be the independent centers of decisionmaking in the market for

the manufacture and distribution of prescription medication; NABP’s constituent

members are entities that are controlled by wholesale distributors, pharmacy stores

and pharmacists who (respectively) directly compete with one another and would

otherwise be the independent centers of decisionmaking in the market for

distribution and the dispensing of prescription medication; and CSIP’s constituent

members are technology companies and other gatekeepers that control the flow of

information and commerce on the Internet, some of which are direct competitors and

some of which are not (Google and Microsoft, for example, would otherwise be

independent centers of decisionmaking in the market for internet search engines). A

conspiracy among these entities necessarily includes sub-conspiracies among the

constituent members, who are in many cases the independent centers of

decisionmaking in the underlying markets.

      14.    It would be impractical and prohibitively costly for a plaintiff like

PharmacyChecker.com—a small firm dwarfed by many of the individual members of

the defendants—to name all of these parties, and the relief sought can be obtained by

a judgment against the named defendants, who are, in any event, the organizations

that are most directly responsible for PharmacyChecker.com’s harm.




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                         SUBSTANTIVE ALLEGATIONS

                           Background and Summary

      15.   Prescription drug costs in the United States are out of control:

Americans pay—by far—the highest drug prices in the world. And it has had a

disastrous effect on public health, including death resulting from unaffordable,

necessary medications.

      16.   In 2016, for example, data from the Commonwealth Fund showed that

about 45 million Americans did not fill a prescription due to cost. A Harvard School

of Public Health survey found that over half of those who did not take prescription

medication due to cost reported becoming sicker.

      17.   For decades, some Americans have trekked to Canada to avoid high drug

prices at home. The rise of the Internet and increased demand for more affordable

prescription drugs spurred the growth of the online international pharmacy industry,

vastly increasing the number of U.S. patients seeking and obtaining lower-cost drugs

from outside the United States.

      18.   According to the U.S. Centers for Disease Control and Prevention, at

least four million Americans annually purchase medications from pharmacies outside

the United States. And the savings are significant: the cost of brand-name medicine

is often 80% lower outside the United States.

      19.   At the same time, consumers in other countries likewise seek

prescription medications from sources outside their home countries. For one example,

88% of generic prescription medications in the United States are cheaper than the




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same generic medication in Canada.1 Likewise, some drugs (whether brand-name or

generic) are cheaper in India than Australia, and cheaper in Canada than the United

Kingdom (and sometimes vice versa). Approximately 40% of PharmacyChecker.com’s

website traffic comes from consumers outside the United States.

      20.     The internet has made it much easier for consumers to find lower-priced

prescription drugs through comparison shopping. Through the Internet, online

pharmacies have challenged entrenched pharmacy business models and reduced

barriers to competition. They provide significant benefits to consumers in terms of

cost and convenience, making it easier for consumers throughout the world to find

pharmacies in different states or countries to fill prescriptions at the lowest possible

price for the same medication with the convenience of home delivery.

      21.     In short, international online pharmacies make lower-price prescription

drugs more accessible to patients worldwide—and particularly to U.S. patients, who

often suffer far higher prices than patients in any other developed nation in the world.

      22.     Unsurprisingly, entrenched businesses accustomed to the ease of

competing in a captive market do not like market changes that increase competition,

and pharmaceutical and pharmacy interests are no exception. Reduced barriers to

competition mean a less captive market and lower prices for consumers, which in turn

mean lower profit margins for pharmaceutical companies (who otherwise charge

higher wholesale drug prices in places like the United States), and domestic

pharmacies (who face lower-priced competitors and reduced market share).



1.    https://www.pharmacychecker.com/news/generic-drugs-cheaper-in-united-states-not-canada/


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       23.     Through lobbying, pharmaceutical and pharmacy interests influence

U.S. law and enforcement policy through Congress, the White House, the U.S. Food

and Drug Administration, U.S. Customs and Border Protection, and other

government agencies and international organizations in order to maintain the United

States as their captive market in the Internet age and stop Americans who order their

medications from online international pharmacies.

       24.     They have been successful in some of these lobbying efforts—as personal

importation remains under some circumstances in a legal gray area—but not in their

efforts to make the law and enforcement policies more restrictive such that it would

actually stop consumers from purchasing across international borders. Public

sentiment, federal policies, and bipartisan legislative proposals are increasingly

hostile to the anticompetitive, captive-market policies sought by pharmaceutical and

pharmacy interests and the exorbitant drug prices that have resulted from them.2

       25.     Pharmaceutical and pharmacy interests have increasingly focused on a

behind-the-scenes strategy, one that has been in the works for more than a decade:

they created a network of mostly nonprofit organizations with euphemistic names,

common ties, and a unified purpose: to use misinformation campaigns and vigilante

“shadow regulation” to cut off consumer access to safe online pharmacies and

comparative information about drug prices. Those organizations are the public face



2.      For example, see the Affordable and Safe Prescription Drug Importation Act (introduced Jan.
2019),         https://www.sanders.senate.gov/download/final_-affordable-and-safe-prescription-drug-
importation-act-of-2019?id=3AC157ED-B4F5-4B7E-8B64-F980132A856C&download=1&inline=file;
the Safe and Affordable Drugs from Canada Act of 2019 (introduced January 2019), available at
https://www.grassley.senate.gov/sites/default/files/Safe%20and%20Affordable%20Drugs%20from%20
Canada%20Act%20of%202019.pdf.


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of this cartel and the defendants in this lawsuit. Their goal is to create and enforce

new territorial market restraints through private agreements to replace the natural

barriers to competition toppled by technology, keeping patients in the United States

in a captive market, free from price-lowering international competition. Over the past

couple of years, and particularly over the last few months, this strategy has begun to

pay off.

       26.     The defendants claim that all safe international online pharmacies that

sell to consumers in the United States are “rogue,” “unapproved,” or “not

recommended,” using misinformation campaigns to fool consumers and key private

internet gatekeepers by saying or implying that they are illegal and unsafe—spinning

a tale of an exploitative online international marketplace, equating all non-domestic

pharmacies with counterfeiters, adulterators, and pill mills. And they have

successfully persuaded or coerced some of those gatekeepers—social media networks,

search engines, payment processors, and shipping companies—to join them.

       27.     PharmacyChecker.com is one of the cartel’s targets because it provides

patients with (1) a way to reliably identify online pharmacies that operate safely

worldwide, and (2) direct access to comparative drug price information not limited to

U.S. pharmacies (or pharmacies of any particular jurisdiction). In defendants’ view,

PharmacyChecker.com is an adversary whose existence is antagonistic to their

desired      outcome   of   maintaining   a    captive   U.S.   drug   market.   With

PharmacyChecker.com out of the way, defendants and the interests that support




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them dominate the market for information about accredited-only pharmacies and

drug prices.

      28.      The defendants have engaged in targeted misinformation and scare

campaigns, group boycotts, and other exclusionary conduct with a goal of destroying

PharmacyChecker.com’s reputation, suppressing its presence in consumer-accessible

channels of the Internet, and interfering with its business relationships. Two

members of the cartel—LegitScript and NABP—have also positioned themselves as

direct competitors of PharmacyChecker.com, as private accrediting bodies, with the

goal of closing off accreditation for safe international pharmacies that sell to markets

that the defendants want to remain captive—most importantly (but not exclusively),

the U.S. market.

      29.      The agreements reached by the defendants and their constituent

members are indefensible violations of Sherman Act, Section 1: their primary purpose

is to restrain competition by directly creating geographic barriers to competition,

persuading and coercing others not to do business with their targets or to cut them

off from essential resources necessary to compete, reducing consumer choice, all

ultimately in service of their goal of reducing competition and thus artificially

inflating prescription drug prices.

                               The Relevant Market

      30.      Two service markets are relevant in this action: the market for online

pharmacy accreditation, and the market for comparative prescription drug pricing

information. PharmacyChecker.com competes in both markets.




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      31.    Online pharmacy verification (also referred to as accreditation) is a

service by which online pharmacies can obtain public recognition by an independent,

third-party verification service. Obtaining such verification allows online pharmacies

to signal to consumers that they are properly credentialed and thus subject to

qualifications and regulatory oversight, that they practice ethically and lawfully, and

that they sell genuine prescription drugs dispensed from licensed pharmacies to

patients    with   valid    prescriptions        from   qualified   medical   providers.

PharmacyChecker.com’s primary competitors in this market, which is highly

concentrated, are NABP, LegitScript, and Canadian International Pharmacy

Association (CIPA).

      32.    An important aspect of this service market is readily available

information about online pharmacy verification. PharmacyChecker.com, for example,

hosts a directory of its accredited online pharmacies, which is useful to consumers

when trying to identify and evaluate online pharmacies. LegitScript and NABP also

have similar directories of their accredited pharmacies. Until March 2019, consumers

(whether in the United States or elsewhere in the world) searching Google for “online

pharmacies” would immediately see PharmacyChecker’s directory of verified online

pharmacies among the top three listings on the first page of search results.

      33.    PharmacyChecker.com’s online pharmacy verification services are

unique compared to its competitors because they reduce information asymmetries for

consumers who are contemplating purchasing their prescription medications from an

online pharmacy website, regardless of the pharmacy’s or the consumer’s location.




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LegitScript and NABP do not provide any information to consumers about safe

international pharmacies that sell to consumers in the United States, and instead

only recommend U.S.-based online pharmacy websites. PharmacyChecker.com is a

“maverick” firm in this regard, a term the U.S. Department of Justice Merger

Guidelines (2010) describes as “a firm that plays a disruptive role in the market to

the benefit of consumers” by, for example, threatening to disrupt market conditions

with a new technology or business model or by challenging prevailing industry norms

on the terms of competition. Under the guidelines, the exclusion of a maverick firm

from an already concentrated market is likely to have anticompetitive effects.

      34.    A comparative drug pricing information directory provides consumers

with current pricing information for specific drugs at licensed pharmacies. The

information is either ascertained independently by the service provider or submitted

for publication by participating pharmacies. PharmacyChecker.com’s primary

competitors in this market are ASOP member GoodRx, as well as Drugs.com, WellRx,

and eDrugsearch (eDrugsearch has also been blacklisted by defendants).

      35.    The relevant geographic market for both service markets is the world.

These information services can be supplied from anywhere in the world

notwithstanding any potentially more limited geographic scopes of the underlying

products themselves. In the Internet’s globalized market, any consumer has the

ability to consume information and purchase online goods from anywhere in the

world. The relevant markets are no different, because the Internet makes it easier

for consumers to find pharmacies in different towns, states and countries and




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information about their prices, which they then use to ultimately fill prescriptions at

the lowest possible price for the same medication with the convenience of home

delivery.

      36.    The underlying pharmaceutical products to which these markets relate

sometimes vary from nation to nation, but they are typically substitutable. As

explained in paragraphs 54–56, many prescription drugs that are the same as FDA-

approved drugs are sold in other nations, though sometimes under a different name

or with a slightly different label, and more than 4 million Americans annually

purchase these medications. Moreover, PharmacyChecker.com provides its services

worldwide, and has felt harm throughout the world because the effects of defendants’

conduct are not limited by geography or jurisdiction.

                       Online Pharmacies and Verification

      37.    The internet’s proliferation of online pharmacies drastically improved

consumer access to alternative, lower-priced sources of prescription drugs. But it also

facilitated bad actors who engage in nefarious or unsafe practices: selling counterfeit,

adulterated, or otherwise unsafe drugs, trafficking in controlled substances and

engaging in identity theft. Truly “rogue” online pharmacies are unaccredited and

often do not provide medicine from licensed pharmacies, dispense medication without

requiring a valid prescription, practice unsafe pharmacy practices, and, in some

cases, intentionally sell counterfeit drugs.

      38.    Before April 2003, when PharmacyChecker.com launched, rogue

pharmacies could more easily prey on consumers because there were few mechanisms




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by which a consumer could reliably distinguish between a legitimate and a rogue

online pharmacy, particularly those selling medication internationally.

      39.     NABP launched a verification program, VIPPS in 1999, but the program

was of little utility for many consumers—those seeking to find the lowest possible

prescription drug prices—because NABP would not, and will not, accredit licensed

Canadian or other non-U.S. pharmacies that sell medicine into the United States.

Indeed, a purpose of VIPPS was to give an impression that only specific U.S.

pharmacies, and no international pharmacies, are safe for U.S. patients.

      40.     PharmacyChecker.com       provides     accreditation    to   safe    online

pharmacies—both foreign and domestic—that voluntarily submit to extensive and

ongoing review in PharmacyChecker.com’s Verification Program, which includes

rigorous inspection and validation requirements overseen by a full-time, licensed U.S.

pharmacist. PharmacyChecker.com approves only those pharmacies that are licensed

and regulated in their jurisdiction, sell lawfully manufactured products, follow good

pharmacy practices, require prescriptions, and do not sell controlled substances

internationally.

      41.     PharmacyChecker.com is a recognized authority and trusted source of

information about online pharmacies, particularly those that sell medicines

internationally, and drug price savings generally. Until defendants’ recent actions, a

search   on   Google   for   “online   pharmacies”     or   related   phrases     showed

PharmacyChecker as a top result indicating that the PharmacyChecker.com website

had earned a high “Expertise, Authoritativeness, and Trustworthiness” (EAT)




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score—a qualitative metric by which Google's human evaluators rank pages through

review of external sources. In the second half of 2018, PharmacyChecker.com

launched a new more user-friendly, responsive-design website. As a result,

PharmacyChecker.com’s website traffic dramatically increased from September 2019

to March 2019, until defendants recently persuaded and reached private agreements

with key gatekeepers belonging to CSIP, including Internet search companies such

Google and Bing, to incorporate NABP’s Not Recommended Sites list into aspects of

their search engine rankings and/or results.

      42.    Based on its accreditations, PharmacyChecker.com publishes on the

Internet a list of currently accredited online pharmacies.

      43.    PharmacyChecker.com also maintains price comparisons that include

the prices of medications of PharmacyChecker.com-accredited pharmacies, which are

located in the United States and abroad, to empower consumers worldwide to find

the lowest possible price for their medications. PharmacyChecker.com also publishes

discounted prices at pharmacies within the United States and information about

patient assistance programs for lower income individuals, so that consumers have the

broadest opportunity to lower their cost of medication.

      44.    PharmacyChecker.com also offers a U.S. prescription discount card that

can be used at almost any local U.S. pharmacy (i.e., it’s not just for online

pharmacies). The savings to consumers can be dramatic—up to 90% savings—when

using the pharmacy card versus paying the pharmacy’s normal retail price.




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Americans who may be looking to Canada for savings end up finding lower prices at

U.S. pharmacies by accessing this information.

       45.    PharmacyChecker.com is an unrivaled pricing comparison authority. Its

price data has been used extensively and reported empirically, including by U.S.

pharmacy trade publications.3

       46.    Approximately 60% of PharmacyChecker.com’s web traffic are

consumers in the United States, while about 40% are consumers from outside the

United States.

       47.    As a result of PharmacyChecker.com’s work, consumers worldwide can

obtain lower-priced prescription medicine without taking a gamble on their safety.

Peer-reviewed research and independent testing over the past decade have shown

that medicine purchased from PharmacyChecker-accredited online pharmacy

websites is at least as safe as the medicine sold by online pharmacies accredited by

NABP and LegitScript. Indeed, while dispensing errors in the United States kill

thousands of Americans each year, the FDA has not publicly reported a single

incident of an American dying or experiencing a severe adverse reaction from taking

a medication that was ordered online and dispensed by a non-U.S. pharmacy that

requires a valid prescription from a licensed healthcare provider.

       48.    In 2006, Google, Bing, and Yahoo, three of the leading internet search

engines at the time, each chose PharmacyChecker.com as a third-party verification

company for advertising eligibility. Each search engine had developed advertising


3.     See, e.g., https://www.pharmacytimes.com/resource-centers/reimbursement/research-generic-
drugs-often-cheaper-in-us-than-from-canada-.


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policies, ones to which they did not always adhere, to prevent rogue pharmacy sites

from advertising, To advertise, pharmacies were supposed to participate in and be

accredited by PharmacyChecker.com’s verification program. According to a non-

prosecution agreement between Google and the U.S. Department of Justice, Google

allowed online pharmacy advertisers despite the fact that they did not qualify for

certification by PharmacyChecker.com. The agreement specifically stated that the

noncompliant controlled drug sellers had not been verified and deemed eligible by

PharmacyChecker.com before Google allowed them to advertise.

      49.    Participants in PharmacyChecker.com’s verification program at the

time included many U.S. pharmacies, including major chains such as CVS,

Walgreens, Walmart, and Kroger, and many Canadian online pharmacies. To be

eligible, the pharmacy had to be licensed in its home jurisdiction, follow good

pharmacy practices, only sell medications with a valid prescription from a licensed

medical professional, and sell only non-controlled medicines into the United States

or, in the case of U.S pharmacies, be licensed by the U.S. Drug Enforcement Agency

to sell controlled medicines.

      50.    But the safety of online pharmacies is not necessarily the main concern

of the defendants and the interests they represent: they are primarily concerned with

destroying competition in the relevant markets and preserving geographic barriers

to competition in the related prescription drug markets that keeps U.S. drug costs

higher than nearly every other developed nation in the world. NABP and LegitScript




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also have an interest in excluding PharmacyChecker.com from the market because it

is a direct competitor.

      51.    The key to their approach is to attempt to eliminate a distinction

between rogue pharmacies and safe international pharmacies—and to ensure that

consumers have access to neither. Their tactic is to claim that international

pharmacies are risky, unsafe, and not to be trusted. Empirical evidence does not

support those claims. They also lump in those claims with their assertion that U.S.

law prohibits the sale of prescription drugs into the United States by pharmacies

outside of the United States.

      52.    That assertion—that prescription medicine importation is illegal—is not

accurate, and has no bearing on the work of PharmacyChecker.com, which neither

imports nor facilitates the import of any products.

      53.    First, it is important to understand that between 40% and 70% of the

finished prescription drugs, and 80% of the active pharmaceutical ingredients used

to make FDA-approved prescription drugs, sold through pharmacies in the United

States are in fact manufactured abroad and imported by pharmaceutical companies

and distributors who thus take advantage of lower manufacturing costs outside the

United States. But the defendants would have everyone believe that while medicine

manufactured in other countries and sold in the United States is safe, medicine

manufactured in other countries and even domestically, and sold in other countries

is dangerous to U.S. consumers.




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      54.    Second, drug importation is not, by itself, illegal: FDA-approved drugs

can be and are imported, and FDA-approved drugs are often sold from pharmacies

outside the United States.

      55.    Relatedly, many drugs sold in foreign countries are FDA-approved

drugs, with different labels, such as labels in both French and English for products

sold in Canada. Such drugs, even though manufactured identically to the

specifications of an FDA-approved drug, are considered “misbranded” by the FDA

simply because the labels do not exactly match the label approved by the FDA. One

example is Januvia: a single 50 mg pill made by Merck and manufactured in the

United Kingdom (UK) sells for approximately $15 in the United States, while the

same pill labeled for sale in Canada sells for approximately $4. It is important to note,

as explained below, that even misbranded drugs can be lawfully imported into the

United States under some circumstances.

      56.    Other drugs sold outside the United States, including from well-known

drug companies, are also lawfully-manufactured, safe and effective, but come in a

formulation different from that sold in the United States or are made in

establishments not necessarily registered with the FDA, so are considered “foreign

unapproved drugs” if imported. For example, AstraZeneca sells Nexium in the UK as

a 40 mg tablet, which can be purchased from a pharmacy in the UK for approximately

$2 per tablet, while AstraZeneca sells Nexium as a capsule in the United States for

about $9 per capsule. In the United States, the Nexium tablet would be considered a




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“foreign unapproved drug” by the FDA. The Secretary of Health and Human Services,

Alex Azar, has stated that such lower-cost drugs can be imported safely.

      57.     Third, even medicines considered misbranded or unapproved when

imported are not necessarily subject to restriction for purposes of personal

importation. In fact, there are numerous legal pathways through which a consumer

can import otherwise “misbranded” medicine. Those pathways include but are not

limited to:

              a.   Under 21 U.S.C. § 384, the Secretary of Health and Human

              Services is directed to “exercise discretion to permit individuals to make

              such importations in circumstances in which—(i) the importation is

              clearly for personal use; and (ii) the prescription drug or device

              imported does not appear to present an unreasonable risk to the

              individual.”

              b.   FDA guidelines also specifically exempt personal importation of

              up to 90-day supplies for some prescription medications by U.S.

              patients.

              c.   Where a drug is FDA-approved but is “misbranded” due to U.S.

              label requirements, a U.S. patient may still import the drug if (1) the

              dispensed drugs were manufactured at a facility listed in the drug’s

              NDA, and (2) an exemption for labeling applies (e.g., 21 C.F.R. 201.100

              provides that a prescription from a U.S. physician exempts the

              adequate-directions-for-use labeling requirement).




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      58.    Fourth, the FDA has stated that it “does not and would not prosecute an

individual for buying medicines online for their personal use.”

      59.    Nevertheless, because the defendants and the interests they represent

have been unsuccessful in their efforts to use the government to do their bidding, they

have instead launched misinformation campaigns to scare consumers and developed

private agreements with internet gatekeepers to unlawfully deprive consumers

access to, and information about, safe online pharmacies. In some instances, these

actions deceive consumers to the detriment of their health because they forego

medicine based on the deception. Since these pharmacies are selling safe, effective,

and lawful drugs that, if imported into the United States under certain circumstances

could be considered “unapproved” or “misbranded” despite contrary federal policy, the

defendants have characterized these pharmacies as “rogue,” “unapproved,” or

“illegal,” pharmacies that put “you and your family at risk” and must be stopped.

      60.    PharmacyChecker.com is not a pharmacy, is not engaged in the sale,

dispensing, or distribution of any prescription drugs and is based in the United

States. It is nevertheless a target because it provides consumers information about

comparative drug prices worldwide, offers accreditation to safe online pharmacies

worldwide, publicly lists these verified online pharmacies, and because its founders

have advocated in favor of safe personal drug importation to the public, in the media,

and before Congress (not to mention advocating for policies to lower drug prices in

the United States). As a result, the defendants have directly targeted

PharmacyChecker.com in myriad ways, with the goal of permanently silencing it.




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      61.     The defendants have not merely excluded PharmacyChecker.com from

U.S. markets, but worldwide, because the internet is worldwide. U.S. importation

laws simply do not apply to most of the relevant market. That is, defendants’ scheme

not only harms U.S. consumers who have legal or potentially legal pathways to

import cheaper prescription medicine, it harms consumers and competition

throughout the relevant market: worldwide.

   Agreements and Communications of Defendants and Co-Conspirators

      62.     Pharmaceutical and pharmacy interests have been working to restrain

online pharmacies and wholly exclude international online pharmacy competition

since the early days of the internet. NABP, for example, established its VIPPS in 1999

with the purpose of accrediting only U.S.-based pharmacies to stave off international

pharmacies. The beginning of a well-organized campaign among a core group of

pharmaceutical and pharmacy interests began several years later with an alliance

with John Horton, the eventual founder of LegitScript. The following allegations

contain both direct and circumstantial evidence of the defendants’ conspiracy.

      63.     In 2006, John Horton was working as a political appointee in the U.S.

Office of National Drug Control Policy (ONDCP). He was tasked with designing a

proposed internet drug strategy to prevent the sale of controlled substances on the

internet. He worked closely with pharmaceutical and pharmacy interests in drafting

the proposal, and those interests sought to influence the strategy by changing its

focus to restricting access to international pharmacies that do not sell controlled

substances.




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      64.    Before resigning from ONDCP in April 2007, Mr. Horton formed a new

company, LegitScript, registering its website a month before his resignation, raising

concerns about his abuse of public office for personal gain.

      65.    Horton recognized an opportunity: working with funding and/or support

from his pharmaceutical and pharmacy industry partners, he could provide the same

sort of services as PharmacyChecker.com, except with the intent of verifying only

U.S.-based pharmacies and labeling all international online pharmacies that sell to

the United States as “rogue” or “unapproved.” Horton also considered offering drug

price comparison on his new website, but decided not to.

      66.    LegitScript sought out contracts from internet gatekeepers and others—

including by wresting away contracts that PharmacyChecker.com had with search

engines—to perform verifications for those companies, except with the intention of

excluding international pharmacies from the marketplace. That, in turn, would help

accomplish the pharmaceutical and pharmacy interests’ goal of restraining

competition from international online pharmacies, which would not be able to

advertise and would lose search engine rankings and visibility.

      67.    Horton also worked with his pharmaceutical and pharmacy industry

allies to organize and form two nonprofits comprising two different industries:

              a.    In 2009, ASOP, whose members include LegitScript, the National

              Association of Chain Drug Stores, and Eli Lilly. Defendants NABP and

              PSM are also observers of ASOP and regularly participate in ASOP

              meetings and initiatives.




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                b.    In 2011, CSIP, whose members include key gatekeepers of

                internet commerce such as Mastercard, Facebook, Google, Microsoft,

                Paypal, and UPS.

      68.       LegitScript remains a member of ASOP and is also the “ex-officio”

member of CSIP. According to CSIP’s website, LegitScript “has had a foundational

role in establishing our organization’s key efforts . . . .” An earlier version of CSIP’s

website also listed ASOP as an ex-officio member, but removed that relationship from

the website. On every page of the CSIP website is a prominent link to the website

www.verifybeforeyoubuy.org, a CSIP site that is “Powered by LegitScript” and

features, at its top, a LegitScript search box to find pharmacies verified by

LegitScript.

      69.       In a 2010 email introduction from Jeannie Salo, a member of Eli Lilly’s

government affairs office, to an Obama administration official, obtained from a

Freedom of Information Act request, Salo stated that “ASOP is the manner in which

Lilly (and PhRMA as an observer) is working with other key stakeholders to compile

data and collaborate to address the problem of online drug sellers/counterfeits, as we

cannot do this as one company, or as PhRMA alone.” In the email, Salo explained that

the group comprises various stakeholders, including “NABP, APHA, PSM, and

LegitScript.”

      70.       In August 2010, ASOP issued a press release in which it promoted its

anticompetitive strategy with the central goal of “requiring Internet search engines,

domain name registrars, and other ‘gatekeepers’ to stop enabling rogue Internet drug




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outlets” (by which it meant any non-U.S.-based pharmacy that sells to customers in

the United States) and mentions “the support of NABP and other stakeholders,”

including PSM. The release also mentions their success in persuading some of these

gatekeepers, noting that “three major search engines recently amended their policies

to restrict advertising to those Internet pharmacies that are VIPPS accredited.”

      71.     In early 2011, NABP announced that it had hosted a “recent meeting”

with CSIP and its members at its Mount Prospect, Illinois headquarters at which

they discussed cutting off websites that promote online international pharmacy sales

from key internet resources through the gatekeepers that compose CSIP, among

other strategies for suppressing information about online pharmacies and

competition in the relevant markets and the related market for prescription

medication.

      72.     In 2012, NABP and ASOP hosted a meeting they called a “Task Force

on Internet Pharmacy Practice,” during which ASOP and NABP discussed numerous

plans for actions they intended to undertake in conjunction with their co-conspirators

to further limit competition from online pharmacies.

      73.     At that 2012 meeting, NABP and ASOP affirmed their agreement to

continue to work together to restrain competition by online pharmacies, and

discussed:

             a.   a concrete plan to persuade and coerce various internet gatekeepers

             such as domain name registrars, web hosting services, search engine

             companies, payment service providers, and shipping companies to deny




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            international       pharmacies        and   other   targets    such    as

            PharmacyChecker.com access to essential services, resources, and

            markets with the purpose of cutting them off completely from consumers;

            b.       an intent to “continue interfacing with CSIP and encourage CSIP

            to support Internet environments” that deprive all but LegitScript- and

            NABP- approved pharmacies of both paid search engine advertising and

            organic search results, payment processing accounts, website domains,

            and shipping companies;

            c.       other “efforts” both domestically and internationally designed to

            keep U.S. drug markets as captive as possible; and

            d.       NABP’s agreement to provide “data” to CSIP that could be used by

            CSIP and its Internet-gatekeeper members in implementing the plan

            described above.

      74.        CSIP was organized by pharmaceutical interests through efforts led by

Eli Lilly, ASOP, and LegitScript. It is an active and integral player in the conduct

described throughout this complaint. It has collaborated directly with ASOP to fund,

support, and carry out misinformation advertising campaigns that have reached as

many as 40 million people.

      75.        CSIP’s members have agreed to certain “Principles of Participation,”

which include the use of and contribution to data-sharing tools about “suspected

illegitimate online pharmacy websites,” the “[i]ntegration of communications

campaigns via social media, press releases, and other forms through external




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communications     channels,”   and    a   commitment      to   “supporting   [CSIP’s]

communications efforts.”

      76.    PSM is funded and controlled by PhRMA (a lobbying group for the

pharmaceutical industry) but calls itself a “consumer protection group.” More than

one third of PSM members have received PhRMA funding or are local chapters of

groups that have received PhRMA funding, and until February 2017, PSM’s principal

officer was Scott LaGanga, who concurrently served as deputy vice president of

advocacy for PhRMA. He stepped down from PSM to “avoid the appearance of a

conflict of interest,” according to investigative reporting that revealed PSM was a

secret arm of PhRMA.

      77.    PSM regularly coordinates with and promotes the activities of its co-

conspirators through press releases and other publications that use a tactic of falsely

conflating legitimate concerns over drug counterfeiting and other safety issues with

unjustified warnings about the safety of pharmacies in Canada and other countries.

For example, on February 9, 2018, PSM touted the NABP’s Internet Drug Outlet

Identification Progress Report and its “finding that fake online pharmacies are

rushing to get on the fentanyl bandwagon.” Similarly, on October 18, 2017, it

announced ASOP’s new “Global Patient Safety Champion Award to recognize

individuals and organizations that are working to protect patient safety and preserve

the gold standard of FDA approval for all American patients.” On August 25, 2017, it

served as a mouthpiece for NABP by announcing its “findings” that “only 4.2% of

online pharmacies are safe.” PSM releases misinformation in conjunction with the




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other defendants to give the appearance of independent authenticity and authority,

as exemplified below.

                   Actions in Furtherance of the Conspiracy

      78.    Caused search engines to terminate PharmacyChecker.com contracts.

In 2008, the NABP approached search engines—Google, Bing, and Yahoo!—and

sought to persuade them to terminate their contracts with PharmacyChecker.com in

favor of either NABP or LegitScript.

      79.    Blacklisted PharmacyChecker.com and called it a significant danger to

patient health. In April 2010 or before, the NABP added PharmacyChecker.com to its

“Not Recommended Sites” list of “Internet drug outlets” that, according to the NABP

in a press release from 2008, puts “those who purchase from these sites in danger of

purchasing drugs that could cause patients serious harm or even death.” According

to the NABP’s website in 2010, when PharmacyChecker.com appeared on the list,

“the sites on our Not Recommended list are those with serious and blatant violations

posing a significant danger to patient health.” NABP publishes its “Not

Recommended       Sites”   list   for   consumers     and    internet    gatekeepers.

PharmacyChecker.com was added even though it does not sell or process orders for

the sale of drugs in any manner. The vast majority of websites on this list are rogue

online pharmacy sites, but a good number simply sell prescription drugs but cannot

be accredited by NABP’s VIPPS program. In January 2011, PharmacyChecker.com

contested the addition of its site to this list as it presents no risk to patients and




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neither sells nor facilitates the sale of medication. Admitting this to be the case when

confronted, NABP removed PharmacyChecker.com from the list in February 2011.

      80.    Sought and obtained new gatekeeping domain extension. From 2013 to

2014, NABP, ASOP, CSIP, LegitScript, Pfizer, Eli Lilly, Gilead Sciences, Janssen

Pharmaceuticals, Merck, the International Pharmaceutical Federation, and other

unnamed “stakeholders” jointly developed a proposal that would create a new

gatekeeping function through the global domain name system administered directly

by NABP. Pharmaceutical companies including Pfizer, Merck, and Ely Lilly funded

the initiative. In June of 2014, the proposal culminated with a new generic top-level

domain, “.pharmacy,” with its registry administered by NABP. The group of

“stakeholders” created the eligibility requirements and worked with CSIP members

to implement new restrictions to prevent non- “.pharmacy” websites from advertising,

receiving merchant payments, and other vital aspects of Internet commerce.

      81.    Sought ICANN rule to shut down pharmacy website domains not

approved by defendants. In a 2015 letter to the International Corporation for

Assigned Named and Numbers (ICANN), NABP requested that ICANN revise its

rules to require private domain registrars to take down any pharmacy domain that

is not approved by NABP or its direct competitor, LegitScript (but not

PharmacyChecker.com). ICANN denied this request.

      82.    Coerced pharmacies not to do business with PharmacyChecker.com. On

January     25,   2017,       PharmacyChecker.com      received    an    email     from

HealthWarehouse.com,      a    U.S.   online    pharmacy   that   was   accredited   by




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PharmacyChecker.com and VIPPS, informing PharmacyChecker.com that it would

have to leave the PharmacyChecker Verification Program or risk losing its NABP

VIPPS accreditation. The email stated in relevant part that “I wanted to send a

courtesy e-mail to let you know we will no longer be using the services of

PharmacyChecker. We recently found out that having the badge on our website is

considered a violation by VIPPS and being an affiliate of yours could cost us our

accreditation.”

      83.    And   coerced        them   again     not   to   even   post   prices    to

PharmacyChecker.com.         In     March        2018,   PharmacyChecker.com         and

Healthwarehouse.com, an NABP approved U.S. online pharmacy were in discussions

about the latter listing its drug prices on PharmacyChecker.com’s website to help

Americans find the lowest U.S. pharmacy prices without having to receive

PharmacyChecker.com accreditation. PharmacyChecker was willing to accept VIPPS

certification for Healthwarehouse.com. Still, NABP’s VIPPS program, according to

Healthwarehouse.com, told Healthwarehouse.com that “PharmacyChecker.com is

out of compliance with VIPPS and dot pharmacy standards. . . . They violate US law.

Their site promotes importation.” As a result of this threat, Healthwarehouse.com

decided against participating in PharmacyChecker.com’s listing program. In this

instance, the NABP prevented a U.S. online pharmacy that it views as operating in

compliance with law and NABP’s own standards from listing its prices on

PharmacyChecker.com.




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      84.   Persuaded security vendors to filter PharmacyChecker.com as an unsafe

website. The conspirators have also persuaded vendors that maintain and categorize

databases of websites and/or otherwise enable network filtering to categorize

PharmacyChecker.com and its accredited pharmacy websites as “not safe,”

“malicious,” or “pornography.” Such classifications are used to deny access to the

classified content by users subject to parental controls, firewalls, and enterprise

network filters. Upon learning that it was so classified by one such vendor,

PharmacyChecker.com contacted the vendor, which stated that it had been classified

by a contracted verification service who it would not name, citing confidentiality

concerns. On information and belief, that contractor was NABP or Legitscript. After

the vendor reviewed the PharmacyChecker.com website using its normal protocols,

it immediately re-categorized PharmacyChecker.com as safe.

      85.   Engaged in a sustained and coordinated misinformation campaign. The

defendants have also engaged in coordinated misinformation campaigns designed to

spread false information about PharmacyChecker.com. For example:

            a.     ASOP and LegitScript jointly issued a false and misleading paid

            news release on August 18, 2015, wrongly linking PharmacyChecker

            and PharmacyChecker-accredited online pharmacies to an indictment

            related to illegal wholesale drug importation. The release claimed that

            a PharmacyChecker employee was indicted after he approved illegal

            internet pharmacies that sold $78 million of mislabeled and counterfeit

            drugs. The wire service through which the release was published later




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              unilaterally retracted the release, agreeing with PharmacyChecker.com

              and its lawyer, that it was false. Other websites contacted by

              PharmacyChecker.com subsequently removed that same press release

              or information it contained.

              b.      On August 19th, 2015, the NABP published a misleading blog

              post on the same topic mentioned above.

              c.      On September 15, 2015, CSIP published a blog post similar to the

              press release by ASOP claiming that a PharmacyChecker.com

              “executive” was indicted after he approved illegal internet pharmacies

              that sold $78 million of mislabeled and counterfeit drugs. The

              statements       were     patently      false:   the     person     was     not   a

              PharmacyChecker.com executive or even an employee, and the charges

              against the person had been dismissed before publication.

              d.      On October 23, 2015, CSIP again published false statements

              regarding the indictment it previously mentioned on September 15.

              PharmacyChecker.com contacted CSIP demanding that they remove the

              two aforementioned posts because they were libelous. They were

              removed.

              e.      In 2017, PSM launched an ambitious advertising campaign—

              including television commercials, promoted search results on Google

              and a full-page print ad in The Washington Post and The Hill4. The



4.    https://khn.org/wp-content/uploads/sites/2/2017/04/partnership-for-safe-medicines.pdf


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       newspaper advertisement asks consumers to “Keep the nation’s

       prescription drug supply safe” by opposing drug importation, which it

       calls “efforts that would allow dangerous, counterfeit medicines to flow

       freely across U.S. borders.”

       f.     In 2018, PSM published an article about the horrors of personal

       drug   importation,   again     claiming   that   PharmacyChecker.com’s

       verifications cannot be trusted and repeating false claims made by CSIP

       and ASOP.

       g.     ASOP published (undated) on its buysaferx.pharmacy website a

       consumer-facing “FAQ” repeating various scare tactics and false claims

       about the safety of online pharmacies, including that “there are no

       legitimate Canadian online pharmacies” because they claim shipping

       any drug into the United States is illegal and because “we have never

       seen a case where the website is shipping all or even most drugs from

       the Canadian pharmacy.” The FAQ has an entire section dedicated to

       disparaging PharmacyChecker.com, which among other false and

       misleading accusations, conflates indictments of people and companies

       for actions related to wholesale distribution, but not related to personal

       drug importation or PharmacyChecker.com-approved retail online

       pharmacies. It repeats the false claim about a PharmacyChecker.com

       executive being indicted. The FAQ also links to a LegitScript article that

       also falsely claims PharmacyChecker.com certifies “illicit online




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             pharmacies,” recommends that consumers only purchase medicines

             from pharmacies accredited by LegitScript, and provides links to further

             information from ASOP and NABP.

             h.     Dr. Catizone (NABP) and Ms. Baney (ASOP) regularly appear

             together to promote content published as part of these misinformation

             campaigns, including, for example, blog posts on external websites and

             appearances on talk radio programs.

      86.    These misinformation campaigns have been sustained by defendants for

extensive periods of time—many of the above examples still come up in search

results—and include clearly false statements that are: (1) material to consumers

considering which firms to trust; and (2) likely to induce reasonable reliance on the

part of consumers who lack appreciable knowledge of the subject matter. Moreover,

these statements are not readily susceptible to neutralization or offset by

PharmacyChecker.com because of their wide dissemination.

      87.    Blacklisted PharmacyChecker.com again. In December 2018, NABP

once again added PharmacyChecker.com to its Not Recommended Sites list, despite

its previous, aforementioned admission in 2011 that PharmacyChecker.com did not

belong on the list. PharmacyChecker.com was added even though NABP claimed at

the top of this list that “[o]rdering drugs from these websites puts you and your family

at risk.” On another page of its website, NABP refers to websites on its Not

Recommended Sites list as those that are “acting illegally or do not follow best

practices.” In subsequent updates, NABP has made changes to the language on its




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Not Recommended Sites list. Before the most recent revision, it stated “The following

sites are all known to be unsafe.” The most recent revision backs away from that

language, but still states that “Using websites on the NRL to purchase drugs may put

you or your loved ones at risk.”

      88.     Oddly, just a few months before, NABP’s director, Catizone, said of

PharmacyChecker.com, “clearly they serve a purpose, and they help consumers, and

we serve a different purpose, or maybe just slightly different” in an article published

at Tarbell.org, a nonprofit investigative journalism website.5

      89.     PharmacyChecker, once again disputed NABP’s action based on the

main fact that it does not sell or process orders for the sale of medicine. Since the Not

Recommended Sites list contains thousands of rogue online pharmacies, including

those that don’t require a prescription and/or intentionally sell counterfeit drugs,

NABP’s actions threaten public health by confusing consumers and Internet

gatekeepers about which online pharmacies or pharmacy information sites actually

threaten public health versus those that safely help people find affordable medicine.

      90.     The       NABP         also     added        PharmacyChecker.com’s    blog,

(www.pharmacycheckerblog.com), a separate website, to its Not Recommended Sites

list. The blog solely provides news, commentary, and analysis on issues relating to

drug prices, online pharmacies, safety and drug importation, and does not link to

online pharmacies.




5.    https://tarbell.org/2018/05/keeping-international-pharmacies-under-a-cloud/


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      91.     Unlike in 2011, NABP did not remove PharmacyChecker.com from the

list. The NABP had since revised its criteria for the list, specifically for the purpose

of including PharmacyChecker.com. An earlier list of criteria simply did not implicate

PharmacyChecker.com. The NABP later added that sites could be included on the list

if they: “Refer/link patients to sites that facilitate the dispensing of prescription

medications in violation of state or federal law or NABP standards” (emphasis added).

      92.    The   blacklist   was   used    by   some   CSIP    members    to    censor

PharmacyChecker.com.        NABP      added       PharmacyChecker.com       and     the

PharmacyChecker blog to its Not Recommended Sites list in furtherance of the

conspiracy. The defendants accomplished their plan (see paragraphs 70–73): they

successfully persuaded and reached private agreements with key gatekeepers

belonging to CSIP, including Internet search companies such Google and Bing to

incorporate NABP’s Not Recommended Sites list into aspects of their search engines,

causing the listed sites to be down-ranked in searches and/or flagged on search results

pages with a public warning. This effectively silences both PharmacyChecker.com

and PharmacyCheckerBlog.com by penalizing them in the search results, thus

suppressing truthful information on pharmacy safety and pricing that consumers

would otherwise use to make better purchasing decisions.

      93.    CSIP members, under their agreement to CSIP’s “Principles of

Participation,” sponsor and display ads specifically targeting PharmacyChecker.com

on behalf of CSIP. In June and July of 2019, CSIP was found to be running targeted

advertisements using “pharmacychecker” as an adword, with copy stating “Choose a




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Safe Pharmacy” and “It’s not worth the risk.” The ads appearing in searches for

PharmacyChecker above the organic PharmacyChecker.com search results. The copy

stating “It’s not worth the risk,” linked directly to the CSIP website

(verifybeforeyoubuy.org). Google admitted on its own blog that “CSIP’s ad campaign

on Google is funded by a Google Grant.”

       94.     CSIP maintains its own blacklist similar to the Not Recommended Sites

list. In CSIP’s words, “In July 2012, CSIP launched its data sharing portal, allowing

our partner companies to share information anonymously about illegitimate online

pharmacies and be more effective in identifying and taking action against their

websites.” The data-sharing tool is managed by LegitScript. “CSIP members . . . have

full access to [this] data-sharing tool . . . and each legitimacy designation is made

available to CSIP members.” It further states that “CSIP provides an online

pharmacy verification tool . . . [that is] recognized by [NABP] as adhering to its

standards . . . .”

       95.     On July 21, 2019, users of the Bing search engine began seeing a red

caution shield and “WARNING” box when trying to click on search results for pages

from PharmacyChecker.com and PharmacyCheckerBlog.com.6 Text in the box reads:

“Warning. The National Association of Boards of Pharmacy (NABP) includes this site

on its Not Recommended list. We recommend that you learn more and verify your

pharmacy before making online health purchases.” The warning includes links to

both the NABP’s Not Recommended Sites list webpage (which states that “Ordering


6.   A brief video demonstration of the warning is available at https://drive.google.com/file/d/1IIn-
KfHhGJ6yIpDpmIJCDnhq1WBxGPHo/view.


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drugs from these websites puts you and your family at risk”) and a page sponsored

by CSIP with a pharmacy search box “Powered by LegitScript.” Due to the pop-up

warning,    which     threatens    and    discourages     potential   visitors   to

PharmacyChecker.com, and diverts them instead to NABP- and Legitscript-

approved sites, PharmacyChecker.com has lost 76% of its traffic from Bing to date.

      96.   Using funds provided by Eli Lilly, Merck, and Pfizer and with the

documented support of many other drug companies, LegitScript, CSIP, ASOP, the

NABP applied to the Internet Corporation for Assigned Names and Numbers

(ICANN) to operate a generic top-level domain (gTLD) called “.pharmacy.” The NABP

uses the “.pharmacy” designation as a gatekeeping function, claiming that all other

pharmacy domains are unsafe because they are not .pharmacy verified, and does not

allow any international pharmacy that sells into the United States a “.pharmacy”

domain.

      97.   Pharmacies such as Walgreens, CVS, and Rite Aid have a “.pharmacy”

web address, whereas the safest international online pharmacy that sells to the

United States is prohibited from doing so. CSIP members, which include Google,

MasterCard, and UPS, have jointly agreed to only allow online pharmacies with a

“.pharmacy” address to advertise, take payments, and ship products. In other words,

the defendants now hold the keys to control online prescription drug markets.

      98.   As part of the conspiracy, NABP also launched “public education”

campaigns, some funded by drug companies, urging consumers to avoid any drug-




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selling website that does not have “.pharmacy” at the end of it, which could scare

more Americans away from safe and affordable medication.

      99.      The domain extension is also used to lend a sense of legitimacy and

officiality to the members of the cartel by giving them “.pharmacy domains”: NABP

gave ASOP two such domains, asopfoundation.pharmacy and buysaferx.pharmacy,

LegitScript its own domain, legitscript.pharmacy, and NABP also holds eight

“.pharmacy” domains of its own. PharmacyChecker.com is excluded from such a

domain based on the established criteria, which includes VIPPS certification.

      100.     Each of PSM, ASOP and CSIP have endorsed LegitScript and NABP’s

VIPPS program as an online pharmacy verification service, while they have falsely

vilified PharmacyChecker.com as an unsafe pharmacy website.

                              FIRST CLAIM
        Conspiracy to Restrain Trade – 15 U.S.C. § 1 (All Defendants)

      101.     Plaintiff repeats each and every allegation contained in the paragraphs

above and incorporates by reference each preceding paragraph as if fully set forth at

length herein.

      102.     Section 1 of the Sherman Act, 15 U.S.C. § 1 prohibits every “contract,

combination . . . , or conspiracy, in restraint of trade or commerce,” whether foreign

or domestic.

      103.     NABP, ASOP, CSIP, LegitScript, and PSM combined and conspired to

restrain trade in violation of Sherman Act Section 1 by engaging in a scheme to

suppress competition in the markets for online pharmacy verification services and

comparative drug price and pharmacy information. As part of the conspiracy, the



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defendants    undertook     a    coordinated    campaign     designed    to    exclude

PharmacyChecker.com and other similarly situated competitors from the market and

otherwise competitively disadvantage it in the relevant markets. The cartel

undertook these actions in furtherance of a broader goal to restrain international

competition in the market for prescription medications, effectively seeking to allocate

for themselves certain geographic markets, such as the United States, Canada,

Australia, and the United Kingdom, with the purpose of artificially raising,

maintaining, or stabilizing prices for prescription medications and otherwise

reducing competition for domestic pharmacies.

      104.   LegitScript and NABP are direct competitors of PharmacyChecker.com

in that they each provide online pharmacy verification services, and therefore the

conspiracy is a horizontal group boycott, which is per se illegal under Sherman Act

Section 1.

      105.   Alternatively, the defendants’ conduct is unlawful under an inherently

suspect, quick-look, or rule-of-reason analysis because the anticompetitive effects

substantially outweigh any legitimate procompetitive benefits of their agreement.

The true purpose and effect of their agreement was to implement naked restraints of

trade, and the procompetitive justifications offered by the defendants are pretextual.

      106.   Moreover, even if defendants’ purported justifications were legitimately

procompetitive, their restraints are more restrictive than necessary to achieve their

procompetitive ends because they exclude PharmacyChecker.com from the relevant

markets altogether, worldwide.




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      107.   The defendants’ agreement and actions in furtherance of the conspiracy

foreclosed competition in the relevant markets.

      The market has been harmed by the defendants’ conduct in several ways:

             a.     The effect of defendants’ agreements is, first and foremost, to

             make    accurate   and    truthful     information   enabling   consumer

             comparisons of pharmacies more difficult and thus more costly to obtain.

             Consumers     seeking    information    about   lower-cost,   safe   online

             pharmacies and comparative prescription drug pricing are unlikely to

             find information about such pharmacies and the lowest prices available

             online via PharmacyChecker.com because of defendants’ coordinated

             campaign to censor PharmacyChecker.com and to reduce or eliminate

             its search engine rankings and visibility, as well as denigrate its

             appearance in search results by suggesting to consumers that it operates

             an unsafe or untrustworthy website.

             b.     The restraints have reduced output in the markets for online

             pharmacy verification services and comparative information about

             prescription drug prices. Absent the restraints alleged in this complaint,

             consumers would have access to more robust information, including

             more balanced information about online international pharmacy

             websites and a greater range of comparative drug prices.

             c.     As the Federal Trade Commission recently explained, search

             engines are now a vital part of U.S. commerce and the suppression of




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               competition in online markets directly affects the prices that consumers

               pay: “As the FTC has explained time and time again, robust, accurate,

               and intelligible price competition among those who compete for

               consumers’ dollars is one of the cornerstones of our vibrant market

               economy. When information is withheld from consumers, it frustrates

               their ability to compare the prices and offerings of competitors.”7 Since

               obtaining information has a cost that increases with difficulty, a

               “reduced information flow” means “some customers will pay higher

               prices for the particular good or service while others stop their search

               before they find a price that induces them to buy, which reduces the

               quantity sold.”    8   In turn, information restrictions reduce sellers’

               incentives to lower prices.

               d.     That is equally true in this case, and on multiple levels.

               Consumers pay far higher prescription drug prices for drugs in the

               related market for prescription drugs—even if they are shopping only

               from U.S.-based pharmacies—because (1) PharmacyChecker.com

               provides price comparisons that also include U.S. pharmacies’ drug

               pricing information, and that information has been suppressed by

               defendants’ conduct; (2) defendants’ conduct was designed to have and

               had the actual effect of protecting U.S.-based pharmacies’ market share



        7.      In re 1-800-Contacts, Dkt. No. 9372 at 2 (F.T.C. Nov. 7, 2018),
https://www.ftc.gov/system/files/documents/cases/docket_no_9372_opinion_of_the_commission_redact
ed_public_version.pdf.
        8.      Id. at 20.


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        and suppressed price competition from international pharmacies; (3)

        defendants’ conduct allows pharmaceutical companies to continue

        captive-market price discrimination in the U.S. market, which

        ultimately harms U.S. pharmacies, third-party payers, and end-

        patients.

        e.   Defendants’ conduct has similar effects throughout the relevant

        market, and not just in the United States: PharmacyChecker.com’s

        traffic has dropped significantly worldwide.

        f.   Given the highly concentrated market for online pharmacy

        verifications and verification information, the effective exclusion of

        PharmacyChecker.com as a primary competitor in the market has an

        appreciable effect on competition, leaving only NABP and LegitScript

        as reasonable choices for pharmacies, consumers, and vendors to choose

        from. A reduction of meaningful competitors from three to two

        invariably lessens competition, and that is especially true when the

        eliminated competitor is a “maverick” that plays a disruptive role in the

        market to the benefit of consumers, like PharmacyChecker.com does.

        g.   Through the exclusion of PharmacyChecker.com, consumers did

        not simply lose the choice of another competitor in the market; they

        have been deprived of unique information and services: verification of

        safe international pharmacies and comparative drug price information

        for pharmacies both in the United States and abroad.




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                h.    Consumers are also less safe as a direct result of defendants’

                conduct because PharmacyChecker.com provides a service designed to

                help consumers avoid unsafe online pharmacies, including unsafe

                international pharmacies. For one example, international health policy

                expert and economist Roger Bate, a visiting scholar with the American

                Enterprise Institute, undertook a study of foreign online pharmacy

                sites credentialed by either PharmacyChecker.com or CIPA—which

                have the Bing/NABP pop-up safety warning—on the one hand, and

                uncredentialed foreign online pharmacy sites that do not have the

                Bing/NABP pop-up safety warning.9 Bate obtained and tested samples

                of one of the most popular medications to buy online—Viagra—from a

                number of each category of site. None of the 28 samples from the

                credentialed sites labeled “unsafe” by Bing and NABP were counterfeit,

                all were genuine Pfizer Viagra, while four of the 39 samples from

                uncredentialed sites that are not labeled “unsafe” by Bing and NABP

                were counterfeit. The study concludes that Bing searchers will avoid

                PharmacyChecker-accredited online pharmacies, instead choosing

                rogue online pharmacies that have yet to be added to the NABP’s Not

                Recommended List—and increase their chance of obtaining a

                counterfeit drug.




9.     Roger Bate, American Enterprise Institute, Bing’s Disservice to Online Drug Safety (January
2019), http://www.aei.org/wp-content/uploads/2019/01/B%E2%80%8Cings-Disservice-to-Online-Drug-
Safety.pdf.


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      108.    PharmacyChecker.com has suffered injury as a direct result of the

defendants’ conduct, and the harm to competition flows from that injury:

PharmacyChecker.com’s exclusion from the market means reduced consumer choice,

reduced truthful and non-misleading advertising and information available to

consumers, and fewer and more restricted options for alternative sources of lower-

priced prescription drugs both U.S.-based and abroad.

      109.    As a direct result of the defendants’ conduct, PharmacyChecker.com’s

site traffic from organic search results has dropped more than 78%. Its monthly click-

through revenue has dropped by more than 77% since March 2019.

      110.    Most of PharmacyChecker.com’s revenue is directly related to its

performance    and   visibility   in   search   engine   results.   In   February   2019,

PharmacyChecker.com pages were appearing in the top 3 positions in Google

searches for 7,612 different search phrases relating to online pharmacies. Since the

the Google update incorporating defendants’ blacklisting, PharmacyChecker.com has

lost 87% of these top rankings. Defendants’ conduct caused this drop in rankings.

      111.    For example, before the Google update, PharmacyChecker.com was the

first result for the search phrase “online pharmacies”; it has been as low as number

90 since defendants effect their scheme—which is effectively out of consumers’ sight.

PharmacyChecker.com is currently at position 50, still effectively out of site. At the

same time, defendants have artificially inflated the visibility of their own websites.

NABP and its “.pharmacy” website now occupy top positions (#3, #5, and #7) on the

first page of Google search results for “online pharmacies.” NABP’s Not




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Recommended Sites list, which previously had scarce traffic, has seen its average

traffic increase to six times its previous level (1,413 visits/day in October 2019

compared to 235 visits/day in February 2019 (pre-update)).

       112.   PharmacyChecker.com’s Bing traffic has vastly diminished because

searches that include PharmacyChecker.com (or PharmacyCheckerBlog.com) as a

result now have a mouse-over pop-up “WARNING” that the website may be unsafe

because it is on NABP’s Not Recommended Sites list. Traffic from Bing is down 76%

since July 21, 2019.

       113.   PharmacyChecker.com has also lost business from online pharmacies,

at least one of whom—Healthwarehouse.com, an NABP-approved U.S. online

pharmacy—was       threatened    by    the    defendants     that    participation   in

PharmacyChecker.com’s accreditation or price comparison programs will result in

automatic disqualifications from the defendants’ verification programs, while others

have   left   PharmacyChecker.com’s    programs       because   of   the   damages   to

PharmacyChecker.com’s     reputation   caused    by    the   defendants    or   because

PharmacyChecker.com’s web traffic has declined precipitously. Since December 2018,

only one online pharmacy website has entered PharmacyChecker.com’s listing

program, and 8 have left it (6 of those have left since March 2019). Moreover, the

defendants have used PharmacyChecker.com’s accreditation list itself to target

pharmacies that do business with PharmacyChecker.com: they farm the list of

PharmacyChecker.com-accredited pharmacies and add those pharmacies to their




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“unapproved” and Not Recommended Sites lists based on their affiliation with

PharmacyChecker.com alone.

       114.   PharmacyChecker.com’s reputation has also been damaged by the

defendants’ actions as described throughout this complaint.

                             SECOND CLAIM
    False Advertising or Promotion – 15 U.S.C. § 1125(a) (Against NABP)

       115.   Plaintiff repeats each and every allegation contained in the paragraphs

above and incorporates by reference each preceding paragraph as if fully set forth at

length herein.

       116.   Section 43(a) of the Lanham Act, 15 U.S.C. § 1125, provides that “any

person who . . . uses in commerce any . . . false or misleading description [or

representation of fact] . . . in commercial advertising or promotion, misrepresents the

nature, characteristics, [or qualities] of his or her or another person’s goods, services,

or commercial activites, shall be liable in a civil action by any person who believes

that he or she is likely to be damaged by such act.”

       117.   Defendant NABP made false and/or misleading descriptions and

representations of fact on its Not Recommended Sites list and related webpages and

websites, and in representations to others in conjunction with its Not Recommended

Sites list, pertaining to PharmacyChecker.com.

       118.   In December 2018, or as early as November 2018, NABP added

PharmacyChecker.com and PharmacyCheckerBlog.com to its Not Recommended

Sites list.




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      119.   The Not Recommended Sites list webpage directed consumers to “Avoid

These Websites [on the list]” because they “appear to be out of compliance with state

and federal laws or NABP patient safety and pharmacy practice standards.” It

further stated the list includes websites that “are known to be unsafe” or that

“may: Dispense prescription medicine without a prescription[;] Dispense foreign or

unapproved medicine[; or] Refer/link patients to sites that facilitate the dispensing of

prescription medications in violation of state or federal law or NABP standards.” It

also unequivocally claimed that “Ordering drugs from these websites put you

and your family at risk.”

      120.   On other pages of NABP’s website promoting the list, NABP refers to

websites on the list as sites that are “acting illegally or do not follow best practices.”

      121.   In approximately early September 2019, NABP revised the Not

Recommended Sites list webpage, exclaiming in large text at the top of the page that

“The following sites are all known to be unsafe” (emphasis added). In similarly

large text, it encouraged users to “Search the unsafe sites list.”

      122.   This version of NABP’s website allows users to search for and click on

the name of any site on the list, taking them to a new page URL with the site in the

title (e.g., https://safe.pharmacy/buy-safely/?url=pharmacychecker.com). On the page

dedicated to PharmacyChecker.com, the headline of the page unequivocally again

stated that “The following sites are all known to be unsafe.”




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      123.   It also stated “Buy Safely,” “Purchase medication from legitimate

websites online,” and “Using websites on the NRL to purchase drugs may put you or

your loved ones at risk.”10

      124.   A primary purpose of these site-specific pages is to negatively influence

search results for the listed site. The pages can be indexed by search engines and

included in search results for the listed site when a person searches for that site. In

addition, they send a negative signal to search engines that a listed site is a risk to

users since they are “unsafe” and put people “at risk,” and thus ought to be demoted

in search rankings. Furthermore, they frighten consumers away from a listed site

while directing them to NABP affiliates on the “safe” list.

      125.   In the last few weeks, NABP changed the headline to simply state “The

following sites are on NABP’s Not Recommended List,” but its other statements

appear to remain the same.

      126.   NABP’s claim that PharmacyChecker.com is an unsafe website or that

it puts consumers and their families at risk is literally false. As explained throughout

this complaint, PharmacyChecker.com does not dispense medicine, whether

prescription or over-the-counter, domestic or foreign. Rather, it is a direct competitor

of NABP in the market for online pharmacy verification services, except only

PharmacyChecker.com serves a broader consumer market and provides information

to benefit consumers worldwide, including U.S. consumers who seek cheaper

medicine from safe international online pharmacies.


10.     A demonstration of the new site as it appeared September 8, 2019 is available at
https://drive.google.com/file/d/1cza14jNIjlmbdiXx9Civ909IZveSIOV1/view.


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       127.   In fact, PharmacyChecker.com improves consumer safety through its

verification program and, indeed, is a competitor of NABP that provides a similar

service. Independent, third-party research such as that described in Paragraphs

107.h shows that when consumers purchase prescription medicine through

PharmacyChecker.com-accredited pharmacy websites, they are safer. In fact, NABP’s

inclusion of PharmacyChecker.com (in conjunction with its warnings on Bing)

actually make it more likely that consumers will purchase counterfeit or adulterated

prescription medicines.

       128.   Moreover,     NABP’s   claim    that    PharmacyChecker.com        and

PharmacyCheckerBlog.com are “acting illegally” or that they “appear to be out of

compliance with state and federal laws” is literally false. PharmacyChecker.com has

never been accused of engaging in any illegal conduct by any government authority

or of failing to comply with any state or federal laws. Indeed, neither

PharmacyChecker.com or PharmacyCheckerBlog.com sell or dispense prescription

medicine or facilitate its sale.

       129.   Additionally, NABP’s statements about PharmacyCheckerBlog.com are

literally false because it is a policy advocacy blog that does not even arguably meet

any criteria that NABP lists on the Not Recommended Sites list.

       130.   NABP’s statements are also misleading. It calls sites on its Not

Recommended Sites list “unsafe” and claims that they jeopardize the safety of

consumers (“purchasing drugs from these sites puts you and your family at risk”).




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But some criteria for inclusion on the list—and, namely, all of the criteria NABP has

privately argued apply to PharmacyChecker.com—have nothing to do with safety.

       131.    Indeed, NABP has promoted the list as follows: “We review sites every

day, and out of those 11,000 sites, as you’ve said, 97% of those are illegal or rogue

sites, and the reason is, what Libby [Baney of ASOP] just mentioned, they are located

outside the U.S., and so they’re faking those licenses. They are faking legitimacy just

so they can bring people to their site and think they’re real and they are selling these

counterfeit         products.”      11      Conflating         PharmacyChecker.com               and

PharmacyCheckerBlog.com with such sites—especially in light of NABP’s admissions

about PharmacyChecker.com providing a valuable service much like the service

NABP provides—shows that NABP is intentionally misleading the relevant

purchasing public.

       132.    NABP tells the relevant purchasing public, in essence, that ordering

drugs from websites like PharmacyChecker.com on the list is unsafe because they

promote and/or facilitate personal importation. There is nothing inherently unsafe

about personal importation:

               a.      It has been debunked by peer-reviewed research.12

               b.      It is belied by over 500 programs run by self-insured entities in

               the United States, including state and local governments, that


11.    See, e.g., https://www.youtube.com/watch?v=EObTI1ZCRFE.
12.    See, e.g., Roger Bate et al., “In Whom We Trust: The Role of Certification Agencies in Online
Drug Markets,” The B.E. Journal of Economic Analysis & Policy. December 2013, Volume 14, Issue 1,
Pages 111–150, https://www.nber.org/papers/w17955; see also Roger Bate, “Catch 22: Credentialed
online pharmacies are so safe that peer review literature is no longer interested in results showing,”
AEI Blog Post (July 18, 2017) http://www.aei.org/publication/catch-22-credentialed-online-
pharmacies-are-so-safe-that-peer-review-literature-is-no-longer-interested-in-results-showing-it/.


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             incentivize employees and retirees to import medication, some of which

             have been in place for more than 15 years. These programs have had no

             safety complaints and have saved money.

             c.     The FDA has never reported even a single instance of death or

             serious adverse reaction from a medicine that was obtained by personal

             importation from a pharmacy that required valid prescriptions.

             d.     Even NABP’s executive director has publicly admitted that there

             is   nothing   wrong   with   personal   importation   programs    where

             appropriate verification is present.

      133.   The statements were made in connection with services offered by NABP

(its Not Recommended Sites list and its VIPPs program) as well as services offered

by PharmacyChecker.com, in interstate commerce.

      134.   In fact, a primary purpose of the Not Recommended Sites list is to

influence consumer browsing and purchasing decisions. Indeed, it tells consumers to

“Purchase medication from legitimate websites online,” dissuades them from using

any site on the Not Recommended Sites list, and provides a link to a list of sites that

participate in and are approved by NABP’s VIPPS program (i.e., NABP’s

affiliates).NABP also offers its Not Recommended Sites list as a service to search

engines and other internet gatekeepers. For example, Bing has directly incorporated

the Not Recommended Sites list into its search engine results. As explained in

Paragraph 95, Bing search results for websites on the Not Recommended Sites list

display a warning box that states NABP “includes this site on its Not Recommended




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list. We recommend you learn more and verify your pharmacy before making online

health purchases.” The text includes a link to NABP’s Not Recommended Sites list.

NABP       is   a    direct   competitor   of   PharmacyChecker.com   and   has   caused

PharmacyChecker.com competitive harm by deceiving consumers in a way that

causes them to withhold trade with PharmacyChecker.com and its affiliates to

instead trade with NABP and its affiliates.

       135.     The statements constitute commercial advertising or promotions

because:

                a.      They were designed to promote the goods and services of NABP

                and its affiliates;

                b.      They were designed to influence consumer purchasing decisions;

                c.      They propose commercial transactions (e.g., “Buy safely” with a

                link to a list of NABP affiliates) and dissuade consumers from making

                other commercial transactions (e.g., “Ordering drugs from these

                websites put you and your family at risk”);

                d.      They are intended as promotional material for NABP affiliates

                (VIPPS participants and the “.pharmacy” domain);

                e.      They were motivated by NABP’s economic interests and the

                economic interests of its affiliates, pharmaceutical and pharmacy

                companies that fund NABP and its initiatives, and the economic

                interests of NABP’s constituency;




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               f.      They were sufficiently disseminated to the relevant purchasing

               public and, in fact, target said purchasing public on the internet,

               including because it is the first organic search result for “online

               pharmacy websites” on Google and Bing; featured in the warning boxes

               for Bing search results of any site on the list; and heavily promoted

               online and in other media formats by NABP and other defendants in this

               case; and

               g.      Some applications of the Not Recommended Sites list are in a

               traditional advertising format, such as the Bing warning box and

               sponsored search results on Google.

       136.    The relevant purchasing public, which includes consumers and internet

service providers such as search engines, are likely to be, and actually have been,

deceived by the statements made by NABP, and those deceptions have caused them

to avoid PharmacyChecker.com. As one researcher put it, “[W]hen a respected search

engine such as Bing warns one against a site, only a fool would buy from it.”13 As

demonstrated in Paragraphs 109–112 above, the inclusion of PharmacyChecker.com

on the list has had a profound negative effect on consumer web traffic to its website.

       137.    Search engines, which make decisions on what sites to include in search

results, have been deceived by the statements and have incorporated the statements




13.    Roger Bate, American Enterprise Institute, “Bing’s Disservice to Online Drug Safety” (January
2019),     https://www.aei.org/wp-content/uploads/2019/01/B%E2%80%8Cings-Disservice-to-Online-
Drug-Safety.pdf.


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into their search engines, including by use in their page-rank algorithms or quality

evaluations and by directly incorporating the list into warnings to users.

      138.   Pharmacy websites have stopped using PharmacyChecker.com’s

services as a result of the statements, and other pharmacy websites have decided

against using PharmacyChecker.com as a result of the statements. Consumers have

also chosen not to use PharmacyChecker.com’s services as a result of the statements.

                             REQUEST FOR RELIEF

      WHEREFORE, PharmacyChecker.com requests that this Court:

             A.    Enter judgment against defendants;

             B.    Declare that defendants’ conduct violates 15 U.S.C. § 1;

             C.    Declare that NABP’s conduct violates 15 U.S.C. § 1125(a);

             D.    Enjoin defendants from continuing their unlawful acts;

             E.    Award PharmacyChecker.com three times its actual damages

         under 15 U.S.C. § 15 in an amount to be determined at trial;

             F.    Award PharmacyChecker.com compensatory damages under 15

         U.S.C. § 1125(a);

             G.    Award PharmacyChecker.com its costs and expenses of this

         action, including its reasonable attorneys’ fees necessarily incurred in

         bringing and pressing this case, as provided in 15 U.S.C. §§ 15, 26;

             H.    Award PharmacyChecker.com its costs and expenses of this

         action, including reasonable attorneys’ fees necessarily incurred in bringing

         and pressing this case, as provided in 15 U.S.C. §1117(a);




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           I.     Award PharmacyChecker.com pre- and post- judgment interest

     at the applicable rates on all amounts awarded;

           J.     Grant permanent injunctive relief to prevent the recurrence of the

     violations for which redress is sought in this complaint; and

           K.     Order any other such relief as the Court deems appropriate.

                         DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a trial by jury on all claims.

DATED: October 21, 2019                      By:
                                                           S/Aaron Gott
                                                            Aaron Gott
                                             Aaron Gott (admitted pro hac vice)
                                             Jarod Bona (CA Bar #234327)
                                             BONA LAW PC
                                             4275 Executive Square, Suite 200
                                             La Jolla, CA 92037
                                             (858) 964-4589
                                             aaron.gott@bonalawpc.com
                                             jarod.bona@bonalawpc.com

                                             Alexandra Shear
                                             BONA LAW PC
                                             The Seagram Building
                                             375 Park Ave. #2607
                                             New York, NY 10152
                                             (212) 634-6861
                                             alex.shear@bonalawpc.com

                                             Counsel for Plaintiff
                                             PharmacyChecker.com




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